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                          DECLARATION OF DOUG TEMPLETON


        I, Doug Templeton, swear that the following is true and correct to the best of my

 knowledge and information:

 1.     I am over the age of 18 and am otherwise competent to testify. I make the following

 statements based upon my personal knowledge, and if called upon to testify as to them, I could

 and would do so truthfully and competently.

 2.                                                                                  bruary 1989,

  a position I held until April 8, 2019 when I was terminated by Sheriff Rick Reigenborn

  (Reigenborn).

 3.     Throughout the 30 plus years that we worked together, I always considered Reigenborn a

  friend and supported him in his political endeavors.

 4.     I first met Reigenborn in 1987, when we were working as Reserve Officers at the

  Brighton Police Department (BPD).

 5.     In 1991, a couple years after I was hired as a ACSO Deputy, Reigenborn also became an

  ACSO Deputy and we started working together in the Jail Division.

 6.     Reigenborn and I worked together for several years in           jail division and again for

  several years within the patrol division when we were both assigned to the SWAT team. We

  routinely relieved each other from shifts while working in SWAT.

 7.     I considered Reigenborn to be a friend throughout my tenure at ACSO. We developed a

  relationship outside of work while attending Fraternal Order of Police (FOP) meetings for both

  the State (Colorado FOP Lodge) and Adams County (FOP Lodge 1).

 8.     We also developed a personal relationship outside of work through our shared passion for

  car mechanics. We occasionally

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 9.     Reigenborn also                                                                          he

  was killed in the line of duty in 2007.

 10.     My participation with the FOP increased after my son died in 2007 because the FOP

  Lodge 1 contributed some money to support me in a personal legal matter.

 11.     I continued to be more involved with the FOP when Reigenborn became the president of

  FOP Lodge 1. Reigenborn pushed for my and other officers involvement when he was pursuing

  an increase to membership dues in order to hire attorneys and lobbyists in an effort to push

  collective bargaining at ACSO.

 12.     I was present when the FOP Lodge 1 voted to raise dues to support the collective



  was called, so there were quite a few individuals that were unhappy when their dues were raised

  without having been included in the vote.

 13.    I remember seeing TJ Coates (Coates), Mark Mitchell (Mitchell) and Kevin Currier

  (Currier) at meetings when Reigenborn was campaigning for collective bargaining. Because

  they opposed the measure, their presence was always bothersome to Reigenborn. It was during

                                                                                     Coates, and

  Currier. Although Reigenborn was once friendly with Coates, Mitchell, and Currier, he began

  to view them as enemies or rivals.

 14.     On one occasion, Reigenborn told me he felt like Mitchell, Currier and Coates were

  trying to use their superior positions at ACSO to intimidate him at FOP meetings. At the time,

  Coates, Mitchell and Currier were in leade

  administration.




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 15.     I did not witness any instances of Mitchell, Currier or Coates utilizing their positions of

  authority to intimidate FOP members. It was clear to me that Reigenborn suddenly perceived

  them as his enemies because they did not share the same political beliefs.

 16.     As Sheriff Doug Darr concluded his third and final term as Sheriff, Reigenborn decided



 17.     My relationship with Reigenborn grew closer when he was running for Sheriff. During

  the 2014 campaigns, we spoke over the phone and he confided to me about his campaign and

  solicited my continued support.

 18.     I do not ever recall Reigenborn talking about his plans for changing the command staff

  when he was running for Sheriff in 2014.

 19.     After Reigenborn lost the 2014            election, he asked newly elected Sheriff

  McIntosh for a promotion to Commander. When Sheriff Mcintosh

  request, Reigenborn resigned from ACSO and started working at the Mountain View Police

  Department.

 20.     After losing the 2014 election and resigning from ASCO, Reigenborn and I spoke three

  to four times about his career and political ambitions. Reigenborn told me that he was planning

  to run for Adams County Sheriff again in 2018.

 21.     Reigenborn told me that if he won the 2018 election and became Sheriff, he would clear

  out the McIntosh supporters and bring in his own administration. He seemed very disgruntled

  and hell bent on seeking revenge against those that were responsible for his loss. This included



  and allies.

 22.     In preparation for the 2018 election, Reigenborn and I started speaking frequently again

  about his campaign. In 2018 alone, we spoke on the phone at least 5 times about his campaign.

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 23.    When we talked about the 2018 campaign, Reigenborn frequently talked about how he

  was going to run ACSO when he was elected. He talked about his plans to make changes to the

             employment policies and procedures. Reigenborn even floated the idea that I may be

  promoted to a Commander position. But far and away, Reigenborn talked most about who he

  was going to fire once he was in office.

 24.    Countless times, Reigenborn listed the names of every Chief and Commander that

  supported McIntosh and told me that he was going to fire them as soon as he was elected.

 25.    On one occasion during a phone call in the fall of 2018, I recall Reigenborn specifically

  reciting the names of Gene Claps (Claps), TJ Coates, Mark Mitchell, and Kevin Currier,



  the prospect of firing them.

 26.

  lawsuit for his planned terminations if he became Sheriff. Reigenborn was aware that Sheriff

  Darr had been sued in 2010 after terminating Mark Nicastle, an ACSO Lieutenant who had been

  politically opposed to Darr. Reigenborn told me his plan was to set up interviews with himself

  and the undersheriff for everyone, not just the chiefs and commanders, prior to issuing

  terminations, in order to provide cover for his decision-making

  of them.

 27.    Reigenborn never provided a good reason for being so eager to terminate Mitchell,

  Coates, Claps and Currier. Whenever he discussed his plans with me, his only reason for

  wanting to get rid of them was that they supported McIntosh over him. To this day, I am

  astounded that Reigenborn followed through with terminating them given how valuable and

  loyal they were to the department.




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 28.    During the nearly 30 years that I was employed by ACSO, I was assigned to multiple

  divisions, including SWAT, corrections, administration, and training. During that time, I had

  many opportunities to work under the leadership of Claps, Coates and Mitchell, and I spent the

  majority of my career working parallel to Currier.

 29.    I worked under Claps

  Sergeant Supervisor in the Patrol Division, and was supervised by Mitchell when he was the

  SWAT Commander. I also had many opportunities to observe Currie

  over the years.

 30.    Claps, Coates, Mitchell and Currier were all exceptional law enforcement officers and

  well-respected leaders within the ACSO. While I did not agree with all of their decisions, I

  always respected them.

 31.    At no point in our private conversations did Reigenborn describe issues with performance

  or leadership as reasons for terminating Mitchell, Coates, Claps or Currier. It was clear to me

  that the only real reason they were to be terminated was because they had been politically loyal

  to McIntosh.

 32.

  They had worked side by side on the same shifts for many years and spent a lot of time together.

  As far as I know, the only disagreements they ever had were political.

 33.    I continued to speak with Reigenborn about his plans for ACSO after he won the 2018

  election, but before he was sworn into office.

 34.    Between November and December 2018, Reigenborn reaffirmed his plan to terminate

  higher-ups in McIntos                     At that time, he again shared with me his plan to avoid

  being sued like Sheriff Darr by conducting interviews with every employee before issuing

  terminations. He added that he would also be facilitating the interviews with the Undersheriff.

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  Reigenborn explained to me that he would also use those meetings to weed out other employees

  that did not share his political beliefs.

 35.     Reigenborn never explained to me why he thought this plan would work; he just said he

  had found a loophole

 36.     From what I recall he had been regularly communicating with Don Sisson at the time,

  regarding his planned terminations, and I believe he may have shared that he consulted with the

  County Attorney as well.

 37.     During this time, Reigenborn also told me Jennifer Baessler would never be allowed in

  the ACSO building. I had no idea why he felt this away about Jennifer, but it became very clear

  to me that he had developed many enemies and intended on seeking vengeance after losing the

  2014 election. I did not learn u

  reelection campaign.

 38.     The first employment decisions made by Reigenborn made shortly after he assumed

  office were reckless and illogical.

 39.     First, we were notified that all the personnel policies were suspended so that new policies

  could be put in place and we were reminded that we were now all at-will employees.

 40.     Nearly every commander and chief was suspended for a period of 2 to 3 weeks, leaving

  the entire administration in the control of a handful of commanders while Reigenborn figured

  out who he was going to appoint to leadership positions.

 41.      To my knowledge, termination letters were sent to over ten people, including Mitchell,

  Coates, Claps and Currier.

 42.     When Reigenborn began announcing his appointments to leadership positions, I was

  shocked by his selections. He repeatedly selected underqualified people that had not previously

  worked for ACSO, or who had very serious disciplinary issues in the past.

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 43.     When I started to look into who Reigenborn selected to take the new positions, I realized

  the one commonality                                    was that they either contributed to his

  campaign or were very involved with the FOP Lodge 1.

 44.     As Reigenborn appointed his leadership and rolled out new policies and changes, he

  routinely reminded the entire ACSO staff that the at-will statute was alive and well, causing

  many ACSO employees to fear they may lose their job.

 45.     Many experienced and highly regarded officers were demoted from their positions;

  meanwhile, John Bitterman, a Reigenborn supporter, was given only two days of administrative

  leave after wrongfully killing a couple while he was off duty.

 46.     During this time, I also                                   onality and behavior. He started

  to act paranoid that there were McIntosh snitches in the department that he did not know about.

 47.     Shortly after Reigenborn assumed his role as Sheriff and terminated or suspended most of

  the command staff, I attended a lunch with a group of ACSO officers, including some

  individuals that had supported McIntosh in the 2018 election. While I was at the lunch,

  Reigenborn called me and asked me if I was alone and then told me he had received a picture of

  me out at lunch with McIntosh supporters and demanded to know if I was shit talking              .I



  just sitting down to lunch with ACSO officers who had supported McIntosh would cause such a

  reaction.

 48.     From that moment on, Reigenborn avoided speaking with me. I got the feeling that

  Reigenborn thought I was a snitch for McIntosh.

 49.     Not long after, I was placed on administrative leave for an internal investigation relating

  to a political statement I made while teaching at the academy. During an interview with

  Undersheriff McLallen and Commander Sue Nielsen, I was asked whether I was registered as a

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  Republican. I was terminated shortly thereafter. I was ultimately terminated following that

  investigation. I believe I was fired because I was a registered Republican and because

  Reigenborn thought I was a McIntosh supporter after I attended the lunch with McIntosh

  supporters.

 50.    This declaration is made voluntarily. I understand that it may be used in a lawsuit. I

 have not been promised any benefit, coerced, or threatened in any way that would change my

 testimony.

 51.    Before signing this declaration, I was provided an opportunity to change and correct it. I

 have made all changes necessary to make this declaration a true statement describing my own

 experiences.

        I, Doug Templeton, declare under penalty of perjury pursuant to 28 U.S.C. § 1746 and

 the laws of the State of Colorado that the preceding is true and correct, based on my personal

 knowledge.


 Executed on the 15 day of June 2021.


                                                      ___________________________
                                                      Doug Templeton




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